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 8
     INTERHEALTH NUTRACEUTICALS, INC.
 9

10                            UNITED STATES DISTRICT COURT

11                        CENTRAL DISTRICT OF CALIFORNIA
12

13   VEDA WOODARD, TERESA                     Case No. 5:16-cv-00189-JGB (SPx)
     RIZZO-MARINO, and DIANE
14
     MORRISON on behalf of themselves,        JUDGMENT FOLLOWING ORDER
15   all others similarly situated, and the   GRANTING DEFENDANT
     general public,                          INTERHEALTH NUTRACEUTICALS,
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                                              INC.’S MOTION FOR SUMMARY
17               Plaintiff,                   JUDGMENT
18         vs.
                                              Crtrm:   1
19   LEE LABRADA, LABRADA                     Judge:   Hon. Jesus G. Bernal
     BODYBUILDING NUTRITION,
20   INC.; LABRADA NUTRITIONAL
21   SYSTEMS, INC.; DR. MEHMET C.
     OZ, M.D.; ENTERTAINMENT
22   MEDIA VENTURES, INC., d/b/a OZ
23   MEDIA; ZOCO PRODUCTIONS
     LLC; HARPO PRODUCTIONS,
24   INC.; SONY PICTURES
25   TELEVISION, INC.; NATUREX,
     INC.; and INTERHEALTH
26   NUTRACEUTICALS, INC.,
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                 Defendants.
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                                                 1
                                          JUDGMENT
                                                       Case No.: 5:16-cv-00189-JGB (SPx)
Case 5:16-cv-00189-JGB-SP Document 450 Filed 09/30/21 Page 2 of 2 Page ID #:19517



 1           On August 31, 2021, the Court entered an Order GRANTING Defendant
 2   InterHealth Nutraceuticals, Inc.’s Motion for Summary Judgment and DISMISSING
 3   WITH PREJUDICE all claims alleged by Plaintiffs against InterHealth Nutraceuticals,
 4   Inc., and ordering that InterHealth Nutraceuticals, Inc. be dismissed as a party and
 5   judgment shall be entered in its favor. [Doc. 444].
 6           Judgment is accordingly entered in favor of Defendant InterHealth
 7   Nutraceuticals, Inc., and against Plaintiffs.
 8           IT IS SO ORDERED.
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10   Dated: September 30, 2021                  _________________________________
11
                                                Hon. Jesus G. Bernal
                                                Judge, United States District Court
12   264119611.v1

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                                            JUDGMENT
                                                         Case No.: 5:16-cv-00189-JGB (SPx)
